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 1   McGREGOR W. SCOTT
     United States Attorney
 2   KIMBERLY A. SANCHEZ
     JEFFREY A. SPIVAK
 3   Assistant United States Attorneys
     2500 Tulare Street, Suite 4401
 4   Fresno, CA 93721
     Telephone: (559) 497-4000
 5   Facsimile: (559) 497-4099

 6   Attorneys for Plaintiff
     United States of America
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 8                                IN THE UNITED STATES DISTRICT COURT

 9                                     EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                           No. 1:17-CR-00198-LJO-SKO

12                                       Plaintiff,

13                               v.                       PRELIMINARY ORDER OF FORFEITURE

14    JESUS MELGAREJO,

15                                       Defendant.

16

17           Based upon the plea agreement entered into between United States of America and

18   defendant Jesus Melgarejo, it is hereby ORDERED, ADJUDGED and DECREED as follows:

19           1.        Pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), defendant Jesus

20   Melgarejo’s interest in the following property shall be condemned and forfeited to the United

21   States of America, to be disposed of according to law:

22                     a. A Llama .30 caliber pistol, bearing serial number C11740;

23                     b. All magazines and ammunition seized in this case; and,

24                     c. All other firearms, ammunition, or firearms parts seized in this case.

25           2.        The above-listed assets constitute firearms and ammunition involved in or used in

26   a knowing violation of 18 U.S.C. § 922(g)(1).

27           3.        Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be authorized

28   to seize the above-listed property. The aforementioned property shall be seized and held by the
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 1   U.S. Customs and Border Protection in its secure custody and control.

 2           4.        a. Pursuant to 28 U.S.C. § 2461(c), incorporating 21 U.S.C. § 853(n), and Local

 3   Rule 171, the United States shall publish notice of the order of forfeiture. Notice of this Order

 4   and notice of the Attorney General’s (or a designee’s) intent to dispose of the property in such

 5   manner as the Attorney General may direct shall be posted for at least thirty (30) consecutive

 6   days on the official internet government forfeiture site www.forfeiture.gov. The United States

 7   may also, to the extent practicable, provide direct written notice to any person known to have

 8   alleged an interest in the property that is the subject of the order of forfeiture as a substitute for

 9   published notice as to those persons so notified.

10                     b. This notice shall state that any person, other than the defendant, asserting a

11   legal interest in the above-listed property, must file a petition with the Court within sixty (60)

12   days from the first day of publication of the Notice of Forfeiture posted on the official

13   government forfeiture site, or within thirty (30) days from receipt of direct written notice,

14   whichever is earlier.

15           5.        If a petition is timely filed, upon adjudication of all third-party interests, if any,

16   this Court will enter a Final Order of Forfeiture pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. §

17   2461(c), in which all interests will be addressed.

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     IT IS SO ORDERED.
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20       Dated:      January 3, 2019                             /s/ Lawrence J. O’Neill _____
                                                       UNITED STATES CHIEF DISTRICT JUDGE
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     PRELIMINARY ORDER OF FORFEITURE                        2
